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     In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 15-1293V
                                       Filed: August 1, 2016

* * * * * * * * * * * * * * * *                               UNPUBLISHED
ANA YURICEK, as Administratrix of the *
Estate of JEREMY YURICEK, Deceased,   *
and ANA YURICEK, Individually,        *
                                      *                       Special Master Hamilton-Fieldman
              Petitioner,             *
                                      *                       Joint Stipulation on Damages;
v.                                    *                       Influenza (“Flu”) Vaccine; Acute
                                      *                       Disseminated Encephalomyelitis
SECRETARY OF HEALTH                   *                       (“ADEM”).
AND HUMAN SERVICES,                   *
                                      *
              Respondent.             *
* * * * * * * * * * * * * * * *

Seth D. Bader, Bloomberg, Steinberg, & Bader, New York, NY, for Petitioner.
Gordon Shemin, United States Department of Justice, Washington, DC, for Respondent.

                                            DECISION 1

        On October 30, 2015, Ana Yuricek (“Petitioner”), on behalf of herself and as
administratrix of the estate of Jeremy Yuricek (“Mr. Yuricek”), petitioned for compensation
under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34 (2012).
Petitioner alleged that the administration of the influenza (“flu”) vaccine, on October 4, 2013,
caused Mr. Yuricek to develop acute disseminated encephalomyelitis (“ADEM”), resulting in his
death.
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  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the purposes espoused in the E-Government Act of 2002. See 44
U.S.C. § 3501 (2012). Each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).

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        On August 1, 2016, the parties filed a stipulation, stating that a decision should be entered
awarding compensation. Respondent denies that the flu vaccine is the cause of Petitioner’s
alleged ADEM, death, or any other injury. Nevertheless, the parties agree to the joint stipulation,
attached hereto as Appendix A. The undersigned finds the stipulation reasonable and adopts it as
the decision of the Court in awarding damages, on the terms set forth therein.

        The parties stipulate that Petitioner shall receive “a lump sum of $405,046.04 in the form
of a check payable to petitioner as Legal Representative of the Estate of Jeremy Yuricek.”
Appendix A at 2, ECF No. 24. They also specify that this “amount represents compensation for
all remaining damages that would be available under 42 U.S.C. § 300aa-15(a).” Id.

      The undersigned approves the requested amount for Petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation. 2

       IT IS SO ORDERED.

                                              s/ Lisa Hamilton-Fieldman
                                              Lisa Hamilton-Fieldman
                                              Special Master




2
  Entry of judgment is expedited by the parties’ joint filing of notice renouncing the right to seek
review. Vaccine Rule 11(a).

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